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                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT


                               Nos. 19-2158 and 19-2260


                                       JOHN DOE,
                                              Appellant in No. 19-2158

                                            v.

                       ST. JOSEPH’S UNIVERSITY; JANE ROE

                                 St. Joseph’s University,
                                                Appellant in No. 19-2260


                    On Appeal from the United States District Court
                       for the Eastern District of Pennsylvania
                                 (No. 2-18-cv-02044)
                        District Judge: Hon. Paul S. Diamond


                   Submitted pursuant to Third Circuit L.A.R. 34.1(a)
                                   January 24, 2020

                 Before: AMBRO, MATEY, and ROTH, Circuit Judges.
                                 _____________

                                      JUDGMENT
                                    ______________


       This cause came to be considered on the record from the United States District Court

for the Eastern District of Pennsylvania and was submitted pursuant to Third Circuit LAR

34.1(a) on January 24, 2020.

       On consideration whereof, it is now hereby ORDERED and ADJUDGED by this

Court that the orders of the District Court entered on August 31, 2018, and April 23, 2019,
           Case:
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 are hereby AFFIRMED. Costs to be assessed against John Doe, Appellant in No. 19-2158.

         All of the above in accordance with the Opinion of the Court.



                                                     ATTEST:


                                                     s/ Patricia S. Dodszuweit
                                                     Clerk
 DATED: October 27, 2020


 Costs taxed against John Doe, Appellant in No. 2158 in the amount of $370.04.




 Certified as a true copy and issued in lieu
 of a formal mandate on December 2, 2020


Teste:
Clerk, U.S. Court of Appeals for the Third Circuit




                                                 2
